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15                         UNITED STATES DISTRICT COURT
                                DISTRICT OF NEVADA
16
                                                 )
17   FEDERAL TRADE COMMISSION                    )       Case No: 2:18-cv-00035
                                                 )
18                       and                     )
                                                 )
19   STATE OF NEVADA,                            )       PLAINTIFFS’ MOTION AND
                                                 )       MEMORANDUM OF POINTS AND
20                        Plaintiffs,            )       AUTHORITIES TO SEAL
                                                 )       REDACTIONS IN THE MOTION FOR
21                        v.                     )       DEFAULT JUDGMENT
                                                 )
22   EMP MEDIA, INC., et al.,                    )
                                                 )
23                         Defendants.           )
                                                 )
24

25          Plaintiffs, the Federal Trade Commission (FTC) and the State of Nevada,
26   respectfully move this Court for an order pursuant to Local Rule IC 6-1(b) and
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 1   Fed. R. Civ. P. 5.2 to seal certain information contained in Plaintiffs’ Motion and
 2   Memorandum in Support of Entry of Default Judgment (Docket No. 23)
 3   (“Motion”) that fall outside the scope of Local Rule IC 6-1(a).
 4         MyEx.com is a website dedicated solely to revenge porn. Revenge porn —
 5   or nonconsensual pornography—is the disclosure of sexually explicit images of an
 6   individual without their consent. Nonconsensual pornography causes immediate,
 7   devastating, and in many cases irreversible harm to the victims.
 8         The proposed redactions contained in the Motion but outside the scope of
 9   Local Rule IC 6-1(a) consist of the following:
10         1.     The MyEx.com URLs related to content being investigated as
11   underage content on MyEx.com, which include the names of the potential
12   underage victims. Docket No. 23 at Exhibit 1 (Thomas Declaration), Attachment B
13   pages 14 and 15.
14         2.     The name of an individual and the MyEx.com URL of the content the
15   individual requested be taken down. The URL also includes the name of another
16   individual featured in the post. Docket No. 23 at Exhibit 1 (Thomas Declaration),
17   Attachment B, page 20.
18         3.     Certain information such as names, addresses, cities and towns, law
19   enforcement agencies, reports, and case numbers, screennames, email addresses,
20   phone numbers, employers, IP addresses, and URLs provided in consumer
21   complaints regarding MyEx.com submitted to the Federal Trade Commission’s
22   Consumer Sentinel Database and in consumer declarations. Docket No. 23 at
23   Exhibit 1 (Thomas Declaration), Attachment UU; Exhibit 2; Exhibit 3; Exhibit 4;
24   Exhibit 7; Exhibit 9; Exhibit 10; Exhibit 11; Exhibit 12.
25         4.     Captures of the website MyEx.com containing intimate images and
26   personal information of victims who did not consent to being on the website and
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 1   related URLs. Docket No. 23 at Exhibit 1 (Thomas Declaration), Attachments A,
 2   H, I, J, K, P, Q, R, S, T, Z, CC, DD, EE, FF, GG, TT; Exhibit 4 at page 5, 9, 10;
 3   Exhibit 9 at page 6; Exhibit 10 at page 13-14.
 4              5.     The name and contact information of individuals with law
 5   enforcement entities investigating underage content on the site MyEx.com. Docket
 6   No. 23 at Exhibit 1 (Thomas Declaration), Attachment B pages 14, 15, and 20.
 7              6.    Medical information related to prescriptions consumers reported
 8   taking. Docket No. 23 at Exhibit 2 at page 2; Exhibit 3 at page 2; Exhibit 9 at page
 9   3; Exhibit 10 at page 2; Exhibit 12 at page 2.
10          7.        An undercover identity and email address used in the course of this
11   investigation. Docket No. 23 at Exhibit 1 (Thomas Declaration), Attachments QQ,
12   RR.
13

14         I.        LEGAL STANDARD
15          The Ninth Circuit has held that while there is a strong presumption of public
16   access to judicial records, “compelling reasons sufficient to outweigh the public’s
17   interest in disclosure and justify sealing court records exist when such court files
18   might have become a vehicle for improper purposes….” Old Republic Ins. Co. v.
19   City Plan Dev., Inc., No. 2:16-cv-00903-JCM-NJK, 2017 U.S. Dist. LEXIS
20   181554, at *2, quoting Kamakana v. City & County of Honolulu, 447 F.3d
21   1172,1179 (9th Cir. 2006) (internal quotation marks omitted). The burden to show
22   compelling reasons for sealing must be made with “articulate compelling reasons
23   supported by specific factual findings.” Kamakana, 447 F.3d at 1178. The fact
24   that information may lead to “embarrassment, incrimination, or exposure to further
25   litigation will not, without more, compel the court to seal its records.” Id. at 1179.
26   To the extent confidential information can be redacted while leaving meaningful
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 1   information available to the public, redactions rather than sealing of entire
 2   documents is preferred. Old Republic Ins. Co., 2017 U.S. Dist. LEXIS 181554 at
 3   *3-4.
 4

 5       II.    ARGUMENT

 6           Plaintiffs have made every effort to redact minimal information in the

 7
     Motion for Default Judgment, leaving meaningful information unredacted and
     available to the public, and do not seek to seal entire documents. The information
 8
     redacted in the filing is minimal and done for compelling reasons that outweigh the
 9
     public’s interest in disclosure, as detailed below.
10
             The MyEx.com URLs related to content being investigated by law
11
     enforcement as underage content contain the names of victims who are minors and
12
     should remain confidential and be sealed. The redaction of the URL containing the
13
     name of a minor victim closely relates to the Local Rule IC 6-1(a)(2), which allows
14
     for the redaction of children’s names.
15           The name of the victim and the MyEx.com URL containing the content that
16   the victim requested be taken down should remain redacted because it will cause
17   harm to the victim if unredacted. It could also cause harm to the other individual
18   featured in the content. First, the name(s) and URL could relate to content of a
19   minor or the unconsented-to distribution of intimate images. In addition, the
20   individual requesting the take-down has a different name than the victim name
21   featured as part of the URL with the non-consensual pornographic content. The
22   relationship between the two individuals is unknown and if disclosed could be
23   harmful to the individuals.

24           Similarly, the information redacted from the Consumer Sentinel complaints

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     and consumer declarations should also remain redacted. Information such as
     names, addresses, cities and towns, law enforcement agencies, reports, and case
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     numbers, screennames, email addresses, phone numbers, employers, IP addresses,
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 1   and MyEx.com URLs provided in the consumer declarations and complaints
 2   submitted to the Federal Trade Commission’s Consumer Sentinel Database should
 3   remain redacted because it could be identifying information that would make the
 4   victims’ identity knowable to the public. The redacted complaints and declarations

 5
     concern victims who had their information and images posted without their
     consent. Releasing the identifying information contained in those complaints
 6
     could be harmful to the victims, the pending investigations, or both. For these
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     reasons the privacy interest greatly outweighs the public’s need to know this
 8
     information.
 9
           The captures of the website MyEx.com landing page with images of victims
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     should also remain redacted. The images on the site’s landing page were most
11
     likely publicly posted without the consent of the individuals featured in the images.
12
     If disclosed, this could lead to the victims being recognized and cause a further
13
     unwarranted invasion of privacy, alongside other harms such as harassment.
14         The name and contact information of law enforcement entities investigating
15   underage content on the site MyEx.com should continue to be redacted, as the
16   public exposure of the entities investigating specific underage content could
17   potentially reveal an ongoing criminal inquiry or complaint or interfere with an
18   investigation.
19         Certain victims wrote declarations in this matter that include medical
20   information in the form of specific prescription information. This information
21   should remain redacted as the privacy interest of the victim’s personal health
22   information greatly outweighs the public’s need to know this information.

23
           Lastly, an undercover identity and email address used in the course of this
     investigation should remain redacted to preserve the use of this identity for other
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     investigations.
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 1     III.   CONCLUSION
 2         Plaintiffs respectfully ask this Court to grant this motion and seal the
 3   redactions in the Motion that fall outside the scope of Local Rule IC 6-1(a). A
 4   proposed order is attached.

 5

 6
           Dated: June 11, 2018                    Respectfully submitted,

 7                                                 /s/ Megan Cox_____________
 8
                                                   Megan Cox
                                                   Allison M. Lefrak
 9                                                 Attorneys for Plaintiff
10
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           Case 2:18-cv-00035-APG-NJK Document 25 Filed 06/11/18 Page 7 of 9




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     Attorney for Plaintiff State of Nevada
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15                         UNITED STATES DISTRICT COURT
                                DISTRICT OF NEVADA
16
                                                 )
17   FEDERAL TRADE COMMISSION                    )       Case No: 2:18-cv-00035
                                                 )
18                       and                     )
                                                 )       [PROPOSED] ORDER GRANTING
19   STATE OF NEVADA,                            )
                                                 )       THE MOTION TO SEAL
20                        Plaintiffs,            )       REDACTIONS
                                                 )
21                        v.                     )
                                                 )
22   EMP MEDIA, INC., et al.,                    )
                                                 )
23                         Defendants.           )
                                                 )
24

25
           Upon consideration of Plaintiffs’ Motion to Seal Redactions in Plaintiffs’
26
     Motion and Memorandum in Support of Entry of Default Judgment, and finding
27   good causes exist, it is hereby
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                                                     7
          Case 2:18-cv-00035-APG-NJK Document 25 Filed 06/11/18 Page 8 of 9




 1

 2
     ORDERED that, pursuant to Local Rule IC 6-1(b) and Fed. R. Civ. P. 5.2, the
     Court grants this motion and seals the redactions in the Plaintiffs’ Motion and
 3   Memorandum in Support of Entry of Default Judgment that fall outside the scope
 4   of Local Rule IC 6-1(a).

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 7
                                                                  IT IS SO ORDERED:
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                                                __________________________________
10
                                                UNITED STATES MAGISTRATE JUDGE
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12                                              DATED: __________________________
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           Case 2:18-cv-00035-APG-NJK Document 25 Filed 06/11/18 Page 9 of 9




 1                              CERTIFICATE OF SERVICE
 2
           I, Megan Cox, certify that on June 11, 2018, the foregoing Plaintiffs’ Motion
 3   to Seal Redactions in Plaintiffs’ Motion and Memorandum in Support of Entry of
 4   Default Judgment and Proposed Order was filed and served using the Court’s
     CM/ECF system.
 5

 6          I further certify that on this same date, a true and correct copy of the
     foregoing was served, via email or overnight mail to the following non-ECF
 7   participants.
 8
     Defendant EMP Media, Inc.
 9   Registered Agent Aniello Infante
10   3016 Spring Meadow Circle
     Youngstown, OH 44515-4953
11

12   Defendant Shad Cottelli, also known as Shad “John” Applegate
     shadapplegate@gmail.com
13   shadcottelli@gmail.com
14   eroticmp@gmail.com
     enzovalentino@protonmail.com
15

16

17

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19

20                                                        /s/ Megan Cox_____________
                                                          Megan Cox
21                                                        Federal Trade Commission
22

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